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                                                                     2021 May-28 PM 06:41
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA




                      EXHIBIT B
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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

                                  )
IN RE: BLUE CROSS BLUE SHIELD     )
ANTITRUST LITIGATION              )    Master File No. 2:13-CV-20000-RDP
(MDL NO. 2406)                    )
                                  )


      DECLARATION OF PROFESSOR CHARLES SILVER ON THE
REASONABLENESS OF CLASS COUNSEL’S REQUEST FOR ATTORNEYS’ FEES
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I, Charles Silver, state as follows:

I.      SUMMARY OF OPINIONS

        1.      This is a landmark settlement. With a cash component of nearly $2.7 billion and

substantial injunctive relief, it is one of the largest antitrust class action recoveries on record. The

settlement benefits members of the subscriber class financially as well as by ending

anticompetitive practices that dominated the health insurance sector for decades.

        2.      In return for having served the subscriber class so well, Class Counsel request an

award equal to 25 percent of the recovery in payment for services and reimbursement of expenses.

In my opinion, the requested amount is reasonable.

        3.      My opinion is based on my understanding of the economics of class action

litigation, prevailing market rates paid by sophisticated clients in large lawsuits—both when suing

individually and when serving as representatives of plaintiff classes, the risks Class Counsel

incurred, and prevailing hourly rates for lawyers’ services. Thus, I believe that the requested fee

and cost award is in keeping with what class members rationally should want to pay lawyers

engaged with the object of maximizing their recoveries and with what sophisticated clients actually

do pay lawyers they hire to undertake the same mission.

II.     CREDENTIALS

        4.      I hold the Roy W. and Eugenia C. McDonald Endowed Chair in Civil Procedure at

the University of Texas School of Law. I joined the Texas faculty in 1987, after receiving an M.A.

in political science at the University of Chicago and a J.D. at the Yale Law School. I received

tenure in 1991. Since then, I have been a Visiting Professor at University of Michigan School of

Law (twice), the Vanderbilt University Law School, and the Harvard Law School.

        5.      The study of attorneys’ fees has been a principal focus of my academic career. I

published my first article on the subject shortly after I joined the law faculty at the University of

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Texas at Austin. See Charles Silver, A Restitutionary Theory of Attorneys’ Fees in Class Actions,

76 CORNELL L. REV. 656 (1991). Since then, I have published about a dozen more articles, two of

which are empirical studies of fee awards in class actions. Lynn A. Baker, Michael A. Perino, and

Charles Silver, Setting Attorneys’ Fees In Securities Class Actions: An Empirical Assessment, 66

Vanderbilt L. Rev. 1677 (2013); and Lynn A. Baker, Michael A. Perino, and Charles Silver, Is the

Price Right? An Empirical Study of Fee-Setting in Securities Class Actions, 115 COLUM. L. REV.

1371 (2015) (“Is the Price Right?”). The CORPORATE PRACTICE COMMENTATOR chose Is the Price

Right? as one of the ten best in the field of corporate and securities law in 2016. In his concurring

opinion in in Laffitte v. Robert Half Internat. Inc., 1 Cal. 5th 480, 376 P.3d 672 (2016), Justice

Goodwin Liu cited Is The Price Right? nine times. He also cited two of my other works.

       6.      My writings are also cited and discussed in leading treatises and other authorities,

including the MANUAL FOR COMPLEX LITIGATION, THIRD (1996), the MANUAL FOR COMPLEX

LITIGATION, FOURTH (2004), the RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS, and

the RESTATEMENT (THIRD) OF RESTITUTION AND UNJUST ENRICHMENT.

       7.      From 2003 through 2010, I served as an Associate Reporter on the American Law

Institute’s PRINCIPLES OF THE LAW OF AGGREGATE LITIGATION (2010). Many courts have cited

the PRINCIPLES with approval, including the U.S. Supreme Court.

       8.      I have testified as an expert on attorneys’ fees many times. Judges have cited or

relied upon my opinions when awarding fees in many class actions, including In re Payment Card

Interchange Fee and Merchant Discount Antitrust Litigation, 2019 WL 6888488 (E.D.N.Y. 2019),

In re Enron Corp. Securities, Derivative & “ERISA” Litig., 586 F. Supp. 2d 732 (S.D. Tex. 2008),

and Allapattah Services, Inc. v. Exxon Corp., 454 F. Supp. 2d 1185 (S.D. Fla. 2006), all of which

settled for amounts exceeding $1 billion.



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       9.        Finally, because awards of attorneys’ fees may be thought to raise issues relating

to the professional responsibilities of attorneys, I note that I have an extensive background,

publication record, and experience as an expert witness testifying on matters relating to this field.

I also served as the Invited Academic Member of the Task Force on the Contingent Fee created by

the Tort Trial and Insurance Practice Section of the American Bar Association. In 2009, the Tort

Trial and Insurance Practice Section of the American Bar Association gave me the Robert B.

McKay Award in recognition of my scholarship in the areas of tort and insurance law.

       10.       I have attached a copy of my resume as Appendix I to this declaration.

III.   DOCUMENTS REVIEWED

       11.       In preparing this report, I received the items listed below which, unless noted

otherwise, were generated in connection with this case:

             •   Case Management Order No. 2—Order Appointing Interim Co-Lead Class

                 Counsel, Local Facilitating Counsel, Plaintiffs’ Steering Committee, and Discovery

                 Liaison Counsel;

             •   Motion for Preliminary Approval;

             •   Memorandum of Law in Support of Preliminary Approval;

             •   Settlement Agreement;

             •   Proposed Preliminary Approval Order;

             •   Proposed Final Approval Order;

             •   Proposed Plan of Distribution;

             •   Lead Counsel Declaration in Support of Preliminary Approval;

             •   Sub-Class Counsel Declaration;

             •   Declaration of Ken Feinberg;


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            •   Declaration of Darrell Chodorow;

            •   Declaration of Daniel Rubinfeld;

            •   Declaration of Ariel Pakes;

            •   Declaration of Special Master (Edgar C. Gentle III);

            •   Motion for Approval of Notice Plan;

            •   Memorandum of Law in Support of Notice Plan;

            •   Declaration of Jennifer M. Keough Regarding Notice Plan;

            •   Defendants’ Motion in Support of Preliminary Approval;

            •   Twenty-Six Retainer Agreements with Signed Clients;

            •   PowerPoint Slide Presentation Delivered on November 16, 2020 by Subscriber

                Plaintiffs in Support of their Motion for Preliminary Approval of Proposed Class

                Settlement;

            •   Memorandum Opinion and Order Preliminarily Approving Settlement, Plan of

                Distribution, and Notice Plan, and Directing Notice to the Class;

            •   Co-Lead Counsel Declaration in Support of the Fee Petition;

            •   The Court’s Order Regarding Protocols for Plaintiff’s Counsel Time and Expense

                Submissions;

            •   A Detailed Summary of Subscriber Class Counsel’s Hours, Lodestar, and Costs

                through August 15, 2020; and,

            •   The Subscriber Class Counsel’s Fee Brief.

IV.   FACTS

      12.       The litigation-related facts upon which my conclusions rest are set out in detail in

Subscriber Plaintiffs’ Memorandum of Law in Support of Motion for Preliminary Approval of


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Proposed Class Settlement. Dkt. 2610-1 and in the Court’s Memorandum Opinion and Order

Preliminarily Approving Settlement, Plan of Distribution, and Notice Plan, and Directing Notice

to the Class (“Preliminary Approval Opinion”).

        13.     In brief, litigation began more than 9 years ago. More than 40 actions filed by

Subscriber Plaintiffs are pending in this Court. The lawsuits allege that the Defendants engaged

in anticompetitive activity, in violation of the Sherman Act, by entering into an agreement that

restrained competition among member companies. The litigation was hard-fought and included a

dozen motions to dismiss, repeated discovery battles, 75 million pages of documents requiring

review and analysis and over 120 depositions of defense and third-party witnesses plus another 20

depositions of plaintiffs and their experts. Litigation concerning the propriety of certifying a

plaintiff class was also greatly advanced. The proposed settlement is the product of these

adversarial efforts and of negotiations conducted over 5 years with the help of a special master and

several mediators.

        14.     The Court is thoroughly familiar with this litigation and has already made extensive

findings regarding its complexity, duration, and intensity. See Preliminary Approval Opinion, pp.

3-4. The Court also described the efforts that led to the proposed settlement. Id., pp. 4-6. Finally,

and importantly, the Court noted both that “the settlement is the result of private enforcement” and

that “it is rare” for private enforcement actions to end in settlements that provide for “historical

structural relief.” Id., pp. 6 & 6 n.3. These and numerous other findings of fact are thoroughly detailed

in the Court’s Preliminary Approval Opinion; there is thus no need to recite them in detail here.

V.      BACKGROUND ANALYSIS: SETTING COMMON FUND FEES ACCORDING
        TO MARKET RATES MAXIMIZES CLASS MEMBERS’ EXPECTED
        RECOVERIES

        15.     Throughout my academic career, I have urged judges to base fee awards from

common funds on rates prevailing in the private market for legal services. Although the view was

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not widely shared when I first expressed it, it is now. Today, judges routinely want to know what

market rates are and give them weight when deciding how much to award lawyers whose efforts

create common funds. In this report, I will show that Class Counsel’s request for a fee equal to

23.47 percent of the recovery (plus approximately $40.9 million in expenses) falls below the range

of percentages that prevails in the private market, which typically runs from 25 percent to 40

percent even in cases with the potential to generate enormous recoveries.

       A.      Fee-Setting Is A Positive-Sum Interaction

       16.     Many people think that fee-setting is a zero-sum game in which more for a lawyer

means less for a client. Because the object of class litigation is to help the victims, they infer that

lower fees are always better than higher ones.

       17.     This belief is mistaken. Fee-setting is a positive-sum interaction in which higher

fees can help claimants. To see this, imagine how class members would fare if courts set common

fund fee awards at 0 percent. When the fee is zero, the expected recovery is zero too because

lawyers will not agree to represent class members (or signed clients) on these terms. From class

members’ perspective, any fee percentage greater than zero is better than zero because any positive

recovery is better than no recovery.

       18.     When regulating fees, then, the object should not be to set them as close to zero as

possible. It should be to maximize class members’ net expected recoveries—the amounts they

expect to take home after paying their attorneys. Because a claimant who nets $1 million after

paying a 40 percent fee is better off than one who nets $500,000 after paying a 20 percent fee, it

is rational for clients to offer higher percentages when doing so is expected to leave them with

more money after fees are paid.

       19.     Judges have known this for years. In 2002, a task force on fees commissioned by

the Third Circuit stated: “The goal of appointment [of class counsel] should be to maximize the
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net recovery to the class and to provide fair compensation to the lawyer, not to obtain the lowest

attorney fee. The lawyer who charges a higher fee may earn a proportionately higher recovery for

the class than the lawyer who charges a lesser fee.” Third Circuit Task Force Report, 208 F.R.D.

340, 373 (January 15, 2002) (emphasis added). The Seventh Circuit made a similar point in In re

Synthroid Marketing Litig., 264 F.3d 712 (7th Cir. 2001). It rejected the so-called “mega-fund

rule,” according to which fees must be capped at low percentages when recoveries are very large,

noting that “[p]rivate parties would never contract for such an arrangement” because it would

encourage cheap settlements. Id. at 718. When fees are capped at low levels, lawyers’ incentives

are weakened and they may lose any financial interest in holding out for higher dollars, which are

harder to recover and require lawyers to bear greater risks. Private clients want lawyers to

maximize the value of their claims, not to settle them cheaply.

       B.      The Case For Mimicking The Market

       20.     In the market for legal services, claimants negotiate fees when litigation starts, not

when it ends. Upfront, they see the risks that lie ahead and appreciate the virtue of paying

contingent fee lawyers on terms that encourage them to bear them. As the Seventh Circuit

observed,

       The best time to determine [a contingent fee lawyer’s] rate is the beginning of the
       case, not the end (when hindsight alters the perception of the suit’s riskiness, and
       sunk costs make it impossible for the lawyers to walk away if the fee is too low).
       This is what happens in actual markets. Individual clients and their lawyers never
       wait until after recovery is secured to contract for fees. They strike their bargains
       before work begins.

In re Synthroid Marketing Litigation, 264 F.3d at 724.
       21.     Unfortunately, judges typically set fee terms when class actions settle, not when

they begin. Consequently, the hindsight bias may cause them to set fees too low. This can only

harm class members in the long-run by weakening lawyers’ incentives.


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       22.       To guard against this, I believe that judges should base fee awards on the amounts

that class members would have agreed to pay had they bargained directly with their lawyers when

litigation was about to commence. A general insight from the economics of contracts is that

rational parties agree on terms that maximize the amount of wealth available for them to share.

See Alan Schwartz and Robert E. Scott, Contract Theory and the Limits of Contract Law, 113

YALE L. J. 541 (2003) (“[P]arties at the negotiation stage prefer to write contracts that maximize

total benefits.”). When markets are competitive, as the market for legal services plainly is, clients

and lawyers should settle on the lowest percentages that maximize their joint expected return. This

is the percentage that maximizes clients’ net expected recoveries.

       23.       The market rate also provides a natural cross check on the reasonableness of a fee

request. When a request falls within the range that sophisticated clients normally pay when hiring

lawyers on contingency to handle large cases, there is reason to believe that class members would

have agreed to pay it had they been able to bargain with class counsel directly. The best evidence

of the terms of hypothetical bargains are the terms that real clients and lawyers agreed to in similar

circumstances.

       24.       As discussed in more detail below, the information I have gathered over years of

study shows that claimants typically agree to pay contingent fees in the range extending from 33

percent to 40 percent, even when sophisticated clients hire lawyers to handle complex commercial

lawsuits with the potential to generate enormous recoveries. To encourage lawyers to maximize

class members’ net recoveries, I believe that courts should set fee awards from common funds in

this range.




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VI.    FEES PREVAILING IN THE PRIVATE MARKET FOR LEGAL SERVICES

       A.      Market Rates Increasingly Dominate The Fee-Setting Process

       25.     In both scholarly works and expert reports written over decades, I have urged

judges to take guidance from the market for legal services when sizing fee awards. As mentioned,

more and more judges are embracing the “mimic the market” approach. They increasingly

understand “market rates, where available, are the ideal proxy for [class action lawyers’]

compensation.” Goldberger v. Integrated Resources, Inc., 209 F.3d 43 (2d Cir. 2000). It is hard

to do better than “ideal.”

       26.     Although only the Seventh Circuit currently mandates the exclusive use of market

rates, federal judges across the country recognize the superiority of this approach and use it often.

Examples include Guevoura Fund Ltd. v. Sillerman, No. 1:15-CV-07192-CM, 2019 WL 6889901,

at *21 (S.D.N.Y. Dec. 18, 2019); In re TRS Recovery Servs., Inc. & Telecheck Servs., Inc., Fair

Debt Collection Practices Act (FDCPA) Litig., No. 2:13-MD-2426-DBH, 2016 WL 543137, at *9

(D. Me. Feb. 10, 2016); In re Capital One Tel. Consumer Prot. Act Litig., 80 F. Supp. 3d 781, 788

(N.D. Ill. 2015); In re Prudential Ins. Co. of Am. SGLI/VGLI Contract Litig., No. 3:10-CV-30163-

MAP, 2014 WL 6968424, at *6 (D. Mass. Dec. 9, 2014); In re New Motor Vehicles Canadian Exp.

Antitrust Litig., 842 F. Supp. 2d 346 (D. Me. 2012); In re Trans Union Corp. Privacy Litig., No.

00 C 4729, 2009 WL 4799954, at *9 (N.D. Ill. Dec. 9, 2009), order modified and remanded, 629

F.3d 741 (7th Cir. 2011); In re Cabletron Sys., Inc. Sec. Litig., 239 F.R.D. 30, 40 (D.N.H. 2006).

       27.     When awarding fees from the enormous settlement in Allapattah Servs., Inc. v.

Exxon Corp., 454 F. Supp. 2d 1185, 1203 (S.D. Fla. 2006), which exceeded $1 billion, the federal

district court judge “conclude[d] that the most appropriate way to establish a bench mark is by

reference to the market rate for a contingent fee in private commercial cases tried to judgment and

reviewed on appeal.” Anchoring the fee to the market rate avoids arbitrariness by providing an

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objective basis for awarding a particular amount and also creates desirable incentives. It also

“create[s] incentives for the lawyer to get the most recovery for the class by the most efficient

manner (and penalize the lawyer who fails to do so).” Nilsen v. York Cty., 400 F. Supp. 2d 266,

277–78 (D. Me. 2005) . See also In re Thirteen Appeals Arising out of the San Juan Dupont Plaza

Hotel Fire Litig., 56 F.3d 295, 307 (1st Cir.1995) (observing that the percentage-of-fund method

eliminates incentive to be inefficient, as inefficiency just reduces the lawyer's own recovery); and

Wal–Mart Stores, Inc. v. Visa U.S.A. Inc.,396 F.3d 96, 121 (2d Cir.2005) (the percentage method

“directly aligns the interests of the class and its counsel” and provides a powerful incentive for

efficiency and early resolution).

       28.     State court judges see the wisdom of mimicking the market too. For example, in

Laffitte v. Robert Half Internat. Inc., 1 Cal. 5th 480, 376 P.3d 672 (2016), the Supreme Court of

California cited the desirability of approximating the market as a reason for permitting judges to

grant percentage-based fee awards from common funds.

       We join the overwhelming majority of federal and state courts in holding that when
       class action litigation establishes a monetary fund for the benefit of the class
       members, and the trial court in its equitable powers awards class counsel a fee out
       of that fund, the court may determine the amount of a reasonable fee by choosing
       an appropriate percentage of the fund created. The recognized advantages of the
       percentage method—including relative ease of calculation, alignment of incentives
       between counsel and the class, a better approximation of market conditions in a
       contingency case, and the encouragement it provides counsel to seek an early
       settlement and avoid unnecessarily prolonging the litigation … convince us the
       percentage method is a valuable tool that should not be denied our trial courts.

Laffitte, 1 Cal. 5th at 503, 376 P.3d at 686, (emphasis added) (citations omitted).

       29.     Judges use the market-based approach and methods that approximate market

conditions because they appreciate the importance of incentivizing lawyers properly and because

they want an objective basis for deciding how much lawyers will be paid. The two considerations–




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incentives and objectivity–are linked. By taking guidance from the market, judges constrain their

discretion and thereby make lawyers’ incentives clearer and more reliable.

       30.     Although the Eleventh Circuit has not formally instructed district court judges to

base fee awards in class actions on prevailing market rates, it has come close to doing so. First, it

has adopted the percentage method, which dominates the market for contingent fee

representations.    Second, it has identified 20 percent to 30 percent of the recovery as the

“benchmark” range, while also noting that awards tend to fall at or near 25 percent. Camden I

Condo. Ass'n, Inc. v. Dunkle, 946 F.2d 768, 775 (11th Cir. 1991). See also In re Home Depot Inc.,

931 F.3d 1065, 1076 (11th Cir. 2019) (same). As shown below, sophisticated clients typically pay

30 percent to 40 percent of the recovery as fees when they hire lawyers on straight contingency.

Third, the Eleventh Circuit has advised district court to tailor fee percentages by consulting the

factors set out in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir.1974), the fifth

of which is the “customary” or market-based fee. Because more and more courts have adopted

the market-based approach, the twelfth Johnson factor—“awards in similar cases”—increasingly

pushes in that direction as well.

       B.      In Contingent Fee Litigation, Percentage-Based Compensation Predominates

       31.     Having established that market rates are “ideal” proxies, it remains to consider how

the market compensates plaintiffs’ attorneys. In this section and the next, I explain what I know

about this issue.

       32.     I start by noting that when clients hire lawyers to handle lawsuits on straight

contingency, the market sets lawyers’ compensation as percentages of claimants’ recoveries. Even

sophisticated business clients with complex, high-dollar legal matters use the percentage approach.

       33.     Abundant evidence supports this contention. When two co-authors and I studied

hundreds of settled securities fraud class actions specifically looking for terms included in fee
                                                 14
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agreements between lawyers and investors seeking to serve as lead plaintiffs, all the agreements

we found provided for contingent percentage fees. Is the Price Right, supra. No lead plaintiff

agreed to pay its lawyers by the hour; nor did any retain counsel on a lodestar-multiplier basis.

Contracting practices are the same in antitrust cases, as discussed below.

        34.     The finding that sophisticated businesses use contingent fee arrangements when

hiring lawyers to handle securities class actions was expected. Over the course of my academic

career, I have studied or participated in hundreds of class actions, many of which were led by

sophisticated business clients. To the best of my recollection, I have encountered only one in

which a lead plaintiff paid class counsel out of pocket; that case is more than 100 years old and

was decided before the common fund doctrine was well established. Even wealthy named

plaintiffs like prescription drug wholesalers and public pension funds that, in theory, could pay

lawyers by the hour have used contingent, percentage-based compensation arrangements instead.

Because percentage-based compensation arrangements dominate the market, courts should also

use them when awarding fees from common funds.

        35.     The market also favors fee percentages that are flat or that rise as recoveries

increase. Scales with percentages that decline at the margin are rarely employed. Professor John

C. Coffee, Jr., the country’s leading authority on class actions, made this point in a report filed in

the antitrust litigation relating to high fructose corn syrup.

        I am aware that “declining” percentage of the recovery fee formulas are used by
        some public pension funds, serving as lead plaintiffs in the securities class action
        context. However, I have never seen such a fee contract used in the antitrust
        context; nor, in any context, have I seen a large corporation negotiate such a
        contract (they have instead typically used straight percentage of the recovery
        formulas).

Declaration of John C. Coffee, Jr., submitted in In re High Fructose Corn Syrup Antitrust

Litigation, M.D.L. 1087 (C.D. Ill. Oct. 7, 2004), ECF No. 1421, ¶ 22. My experience is similar to


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Professor Coffee’s. I know of few instances in which large corporations used scales with declining

percentages when hiring attorneys.

       36.     In view of the rarity with which declining scales are used, the “mimic the market”

approach suggests that flat percentages and scales with percentages that rise at the margin create

better incentives. There is a sound economic rationale for this. Flat percentages and rising scales

reward plaintiffs’ attorneys for recovering higher dollars that are harder to obtain because they

demand a willingness on the part of counsel to proceed ever closer to trial, thereby increasing their

costs and exposing them to greater risk of loss. Flat percentages and percentages that increase

with the recovery encourage plaintiffs’ attorneys to shoulder the costs and risks that must be borne

when lawyers encourage clients to turn down inadequate settlements.

       C.      Sophisticated Clients Normally Pay Fees Of 30 Percent To 40 Percent When
               Hiring Lawyers To Handle Commercial Lawsuits On Straight Contingency

       37.     Countless plaintiffs have hired lawyers on contingency to handle cases of diverse

types. Consequently, the market for legal services is a rich source of information about lawyers’

fees. In this section, I survey this evidence.

       38.     Before doing so, I wish to note that there is broad agreement that in most types of

plaintiff representations contingent fees range from 30 percent to 40 percent of the recovery, and

that higher fees prevail in litigation areas like medical malpractice and patents where costs and

risks are unusually great. See, e.g., George v. Acad. Mortg. Corp. (UT), 369 F. Supp. 3d 1356,

1382 (N.D. Ga. 2019) (“Plaintiffs request for approval of Class Counsel’s 33% fee falls within the

range of the private marketplace, where contingency-fee arrangements are often between 30 and

40 percent of any recovery”); and Leung v. XPO Logistics, Inc., 326 F.R.D. 185, 201 (N.D. Ill.

2018) (“a typical contingency agreement in this circuit might range from 33% to 40% of

recovery”). The same range is known to prevail in high-dollar, non-class, commercial cases. See,


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e.g., Kapolka v. Anchor Drilling Fluids USA, LLC, No. 2:18-CV-01007-NR, 2019 WL 5394751,

at *10 (W.D. Pa. Oct. 22, 2019); and Cook v. Rockwell Int'l Corp., No. 90-CV-00181-JLK, 2017

WL 5076498, at *2 (D. Colo. Apr. 28, 2017).

       39.     The point of surveying the evidence, then, is not to establish something new. It is

to show that what everyone already knows is correct. The market rate for contingent fee lawyers

generally ranges from 30 to 40 percent of clients’ recoveries, with 33 percent being especially

common.

       40.     We do not know as much about fees paid in large commercial lawsuits as we

might. 1 No publicly available database collects information about this sector of the market, and

businesses that sue as plaintiffs rarely reveal their fee agreements. Consequently, most of what is

known is drawn from anecdotal reports. 2 That said, the evidence available on the use of contingent

fees by sophisticated clients shows that marginal percentages tend to be high.




1
 I have studied the costs insurance companies incur when defending liability suits. See Bernard
Black, David A. Hyman, Charles Silver and William M. Sage, Defense Costs and Insurer Reserves
in Medical Malpractice and Other Personal Injury Cases: Evidence from Texas, 1988-2004, 10
AM. L, & ECON, REV. 185 (2008). Unfortunately, this information sheds no light on the amounts
that businesses pay when acting as plaintiffs.
2
  Businesses sometimes use hybrid arrangements that combine guaranteed payments with
contingent bonuses. For example, when representing Caldera International, Inc. in a dispute with
IBM, Boies, Schiller & Flexner LLP billed two-thirds of its lawyers’ standard hourly rates and
stood to receive a contingent fee equal to 20 percent of the recovery. Letter from David Boies and
Stephen N. Zack to Darl McBride dated Feb. 26, 2003, available at
https://www.sec.gov/Archives/edgar/data/1102542/000110465903028046/a03-
6084_1ex99d1.htm (visited Aug. 23, 2020). According to Wikipedia, the damages sought in the
lawsuit initially totaled $1 billion, but were later increased to $3 billion, and then to $5 billion.
Wikipedia,      SCO      Group,      Inc.   v.    International    Business     Machines      Corp.,
https://en.wikipedia.org/wiki/SCO_Group,_Inc._v._International_Business_Machines_Corp.
(visited Aug. 23 , 2020).
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                 1.     Sophisticated Named Plaintiffs In Class Actions

       41.       Sophisticated business clients commonly agree to pay fees of 33 percent or greater

when serving as lead plaintiffs in class actions. Here are a few examples.

             •   In San Allen, Inc. v. Buehrer, Case No. CV-07-644950 (Ohio – Court of Common

                 Pleas), which settled for $420 million, seven businesses serving as named plaintiffs

                 signed retainer contracts in which they agreed to pay 33.3 percent of the gross

                 recovery obtained by settlement as fees, with a bump to 35 percent in the event of

                 an appeal. Expenses were to be reimbursed separately.

             •   In In re U.S. Foodservice, Inc. Pricing Litigation, Case No. 3:07-md-1894 (AWT)

                 (D. Ct.), a RICO class action that produced a $297 million settlement, both of the

                 businesses that served as named plaintiffs were represented by counsel in their fee

                 negotiations and both agreed that the fee award might be as high as 40 percent.

             •   In In re International Textile Group Merger Litigation, C.A. No. 2009-CP-23-3346

                 (Court of Common Pleas, Greenville County, South Carolina), which settled in

                 2013 for relief valued at about $81 million, five sophisticated investors serving as

                 named plaintiffs agreed to pay 35 percent of the gross class-wide recovery as fees,

                 with expenses to be separately reimbursed. (The fee was initially set at over 40

                 percent but was later bargained down to 35 percent.)

       42.       Similar rates prevail in antitrust class actions in which businesses participate as

plaintiffs. For example, I studied and prepared expert reports in a series of pharmaceutical cases

bought against manufacturers that engaged in pay-for-delay settlements to patent challenges. The

named plaintiffs in these cases were drug wholesalers. All were large companies, and several were

of Fortune 500 size or bigger. All also had in-house or outside counsel monitoring the litigations.



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The potential damages were enormous. In one case, King Drug Company of Florence, Inc. v.

Cephalon, Inc., No. 2:06-cv-1797-MSG (E.D. Pa. Oct. 8, 2015), the plaintiffs recovered over $500

million. In the series as a whole, they won more than $2 billion. In most of the cases, these

sophisticated businesses supported fees equal to one-third of the recovery. In one case, they

endorsed a fee of 30 percent and in another of 27.5 percent.

        43.     These cases were not exceptional. Professor Brian Fitzpatrick gathered information

on an even larger number of pharmaceutical antitrust cases—33 in all—that were resolved between

2003 and 2020. According to his forthcoming article, “the fee requests ranged from a fixed

percentage of 27.5% to a fixed percentage of one-third”; “one-third heavily dominated” the

sample”; and “the average was 32.85%.” And “in the vast majority of cases, one or more of these

corporate class members—often the biggest class members—came forward to voice affirmative

support for the fee request, and not a single one of these corporate class members objected to the

fee request in any of the 33 cases.” Brian T. Fitzpatrick, A Fiduciary Judge’s Guide to Awarding

Fees in Class Actions, 89 FORDHAM L. REV. 1151 (March 2021). Professor Fitzpatrick’s table of

cases appears in Appendix II.

        44.     In sum, when sophisticated business clients seek to recover money in risky

commercial lawsuits involving large stakes, they typically pay contingent fees ranging from 30

percent to 40 percent, with fees of 33 percent or more being promised in most cases. As well,

there is little variation in fee percentages across cases of different sizes.

                2.      Patent Cases

        45.     Now consider patent infringement cases, another context in which sophisticated

business clients often hire law firms on contingency. There are many anecdotal reports of high

percentages in this area. The most famous one relates to the dispute between NTP Inc. and

Research In Motion Ltd., the company that manufactures the Blackberry. NTP, the plaintiff,
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promised its law firm, Wiley Rein & Fielding (“WRF”), a 33⅓ percent contingent fee. When the

case settled for $612.5 million, WRF received more than $200 million in fees. Yuki Noguchi,

D.C. Law Firm’s Big BlackBerry Payday: Case Fees of More Than $200 Million Are Said to

Exceed Its 2004 Revenue, WASHINGTON POST, March 18, 2006, D03.

       46.     The fee percentage that WRF received is typical, as Professor David L. Schwartz

found when he interviewed 44 experienced patent lawyers and reviewed 42 contingent fee

agreements.

       There are two main ways of setting the fees for the contingent fee lawyer [in patent
       cases]: a graduated rate and a flat rate. Of the agreements using a flat fee reviewed
       for this Article, the mean rate was 38.6% of the recovery. The graduated rates
       typically set milestones such as “through close of fact discovery,” “through trial,”
       and “through appeal,” and tied rates to recovery dates. As the case continued, the
       lawyer’s percentage increased. Of the agreements reviewed for this Article that
       used graduated rates, the average percentage upon filing was 28% and the average
       through appeal was 40.2%.

David L. Schwartz, The Rise of Contingent Fee Representation in Patent Litigation, 64 ALA. L.

REV. 335, 360 (2012). In a case like this one that required the lawyers to bear significant litigation

and trial preparation hours and expenses with no guarantee of payment or reimbursement, a high

fixed percentage would apply. 3




3
  Professor Schwartz’s findings are consistent with reports found in patent blogs, one of which
stated as follows.
       Contingent Fee Arrangements: In a contingent fee arrangement, the client does not
       pay any legal fees for the representation. Instead, the law firm only gets paid from
       damages obtained in a verdict or settlement. Typically, the law firm will receive
       between 33-50% of the recovered damages, depending on several factors. This is
       strictly a results-based system.

Matthew L. Cutler, Contingent Fee and Other Alternative Fee Arrangements for Patent Litigation,
HARNESS DICKEY, (JUNE 8, 2020), https://www.hdp.com/blog/2020/06/08/contingent-fee-and-
other-alternative-fee-arrangements-for-patent-litigation/.

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       47.     Clearly, in the segment of the market where sophisticated business clients hire

lawyers to litigate patent cases on contingency, successful lawyers earn sizeable premiums over

their normal hourly rates. The reason is obvious. When waging patent cases on contingency,

lawyers must incur large risks and high costs, so clients must promise them hefty returns. Patent

plaintiffs have the option of paying lawyers to represent them on an hourly basis, but still prefer a

contingency arrangement, even at 30-40 percent, to bearing the risks and costs of litigation

themselves.

               3.      Other Large Commercial Cases

       48.     Turning from patent lawsuits to business representations more generally, many

examples show that compensation tends to be a significant percentage of the recovery. A famous

case from the 1980’s involved the Texas law firm of Vinson & Elkins (“V&E”). ETSI Pipeline

Project (“EPP”) hired V&E to sue Burlington Northern Railroad and other defendants, alleging a

conspiracy on their part to prevent EPP from constructing a $3 billion coal slurry pipeline. V&E

took the case on contingency, “meaning that if it won, it would receive one-third of the settlement

and, if it lost, it would get nothing.” David Maraniss, Texas Law firm Passes Out $100 Million in

Bonuses,             Washington              Post,            Aug.             22,             1990,

https://www.washingtonpost.com/archive/politics/1990/08/22/texas-law-firm-passes-out-100-

million-in-bonuses/8714563b-10b8-4f85-b74a-1e918d030144/. After many years of litigation, a

series of settlements and a $1 billion judgment against a remaining defendant yielded a gross

recovery of $635 million, of which the firm received around $212 million in fees. Patricia M.

Hynes, Plaintiffs’ Class Action Attorneys Earn What They Get, 2 JOURNAL OF THE INSTITUTE FOR

THE STUDY OF LEGAL ETHICS, 243, 245 (1991). It bears emphasizing that the clients who made up

the plaintiffs’ consortium, Panhandle Eastern Corp., the Bechtel Group, Enron Corp., and K N



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Energy Inc., were sophisticated businesses with access to the best lawyers in the country. No claim

of undue influence by V&E can possibly be made.

        49.     The National Credit Union Administration’s (“NCUA”) experience in litigation

against securities underwriters provides a more recent example of contingent-fee terms that were

used successfully in large, related litigations. After placing 5 corporate credit unions into

liquidation in 2010, NCUA filed 26 complaints in federal courts in New York, Kansas, and

California against 32 Wall Street securities firms and banks. To prosecute the complaints, which

centered on sales of investments in faulty residential mortgage-backed securities, NCUA retained

two outside law firms, Korein Tillery LLP and Kellogg, Hansen, Todd, Figel, & Frederick PLLC,

on a straight contingency basis. The original contract entitled the firms to 25 percent of the

recovery, net of expenses. As of June 30, 2017, the lawsuits had generated more than $5.1 billion

in recoveries on which NCUA had paid $1,214,634,208 in fees. 4

        50.     When it retained outside counsel on contingency, NCUA knew that billions of

dollars were at stake. The failed corporate credit unions had sustained $16 billion in losses, and

NCUA’s objective was to recover as much of that amount as possible. It also knew that dozens of

defendants would be sued and that multiple settlements were possible. Even so, NCUA agreed to

pay a straight contingent percentage fee in the standard market range on all the recoveries. It

neither reduced the fees that were payable in later settlements in light of fees earned in earlier ones,



4
 The following documents provide information about NCUA’s fee arrangement and the recoveries
obtained in the litigations:        Legal Services Agreement dated Sept. 1, 2009,
https://www.ncua.gov/services/Pages/freedom-of-information-act/legal-services-agreement.pdf;
National Credit Union Administration, Legal Recoveries from the Corporate Crisis,
https://www.ncua.gov/regulation-supervision/Pages/corporate-system-resolution/legal-
recoveries.aspx; Letter from the Office of the Inspector General, National Credit Union
Administration     to     the     Hon.      Darrell    E.      Issa,    Feb.      6,    2013,
https://www.ncua.gov/About/leadership/CO/OIG/Documents/OIG20130206IssaResponse.pdf.

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nor bargained for a percentage that declined as additional dollars flowed in, nor tied the lawyers’

compensation to the number of hours they expended.

       51.     In In re Merry-Go-Round Enterprises, Inc., 244 B.R. 327 (D. Md. 2000), the

bankruptcy trustee wanted to assert claims against Ernst & Young. He looked for counsel willing

to accept a declining scale of fee percentages, found no takers, and ultimately agreed to pay a law

firm a straight 40 percent of the recovery. Ernst & Young subsequently settled for $185 million,

at which point the law firm applied for $71.2 million in fees, 21 times its lodestar. The bankruptcy

judge granted the request, writing: “[v]iewed at the outset of this representation, with special

counsel advancing expenses on a contingency basis and facing the uncertainties and risks posed

by this representation, the 40% contingent fee was reasonable, necessary, and within a market

range.” Id. at 335.

       52.     Based on what lawyers who write about fee arrangements in business cases have

said, contingent fees of 33⅓ percent or more remain common. In 2011, The Advocate, a journal

produced by the Litigation Section of the State Bar of Texas, published a symposium entitled

“Commercial Law Developments and Doctrine.”             It included an article on alternative fee

arrangements, which reported typical contingent fee rates of 33 percent to 40 percent.

       A pure contingency fee arrangement is the most traditional alternative fee
       arrangement. In this scenario, a firm receives a fixed or scaled percentage of any
       recoveries in a lawsuit brought on behalf of the client as a plaintiff. Typically, the
       contingency is approximately 33%, with the client covering litigation expenses;
       however, firms can also share part or all of the expense risk with clients. Pure
       contingency fees, which are usually negotiated at approximately 40%, can be useful
       structures in cases where the plaintiff is seeking monetary or monetizable damages.
       They are also often appropriate when the client is an individual, start up, or
       corporation with limited resources to finance its litigation. Even large clients,
       however, appreciate the budget certainty and risk-sharing inherent in a contingent
       fee arrangement.

Trey Cox, Alternative Fee Arrangements: Partnering with Clients through Legal Risk Sharing, 66

THE ADVOCATE (TEXAS) 20 (2011).
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        53.     In sum, when seeking to recover money in class actions involving large stakes and

in commercial lawsuits, sophisticated business clients typically pay contingent fees ranging from

30 percent to 40 percent, with fees of 33 percent or more being promised in most cases.

VII.    RISK INCURRED

        54.     In the market for legal services, the percentages that contingent fee lawyers charge

vary with the risks they incur. Lawyers who handle medical malpractice cases typically receive

higher fees than lawyers who handle personal injury cases of other types because they incur greater

costs and face more daunting prospects before judges and juries. Lawyers who handle commercial

airplane crash cases often charge lower fees than others because major carriers often concede

liability, leaving only damages to be determined.

        55.     My review of the preliminary approval materials convinces me that the risks

inherent in this litigation were severe. They included challenges to the plaintiffs’ damages model,

a difficult path to class certification, the prospect of having to certify classes in multiple states, the

difficulty of proving damages if their model was accepted, the absence or a preceding or

contemporaneous governmental investigation, and many others. Because Class Counsel know

these risks better than I do and describe them in detail in Subscriber Plaintiffs’ Memorandum of

Law in Support of Motion for Preliminary Approval of Proposed Class Settlement, Dkt. 2610-1

and in their co-lead counsel declaration submitted in support of their fee application, I will not add

to their account of the particulars. Instead, I will focus on general properties of antitrust class

actions that bear on their riskiness.




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               1.      Duration Of Litigation

       56.     The duration of litigation is a proxy for risk. Easier cases tend to resolve more

quickly than harder ones; the hours class counsel must expend and the expenses they must incur

mount with time; and unpaid interest accumulates on both expenses and time until litigation ends. 5

       57.     This case took longer than usual to resolve. “From 2009-2019, most antitrust class

actions that reached final approval did so within 5-7 years.” Josh Paul Davis and Rose Kohles,

2019 Antitrust Annual Report: Class Action Filings in Federal Court 2 (Sept. 21, 2020). At 9

years and counting, this lawsuit is already past the high end of that range. This fact supports the

inference that this case was unusually risky.

               2.      Costs Incurred

       58.     The expenses that lawyers incur when litigating class actions correlate directly with

risk. The greater the outlay on expert witnesses, discovery, and other goods and services, the

greater the foregone earnings that would have been received had the money been invested and the

greater the downside potential associated with the risk of loss.

       59.     Even by comparison with other enormous class actions, the magnitude of the risk

associated with litigation expenses that Class Counsel incurred was extreme. The 2019 Annual

Antitrust Report shows that in antitrust class actions that closed from 2009 to 2019 with recoveries

of $1 billion or more, the median case saddled class counsel with expenses equal to 1 percent of

the recovery. Id., p. 25. Here, plaintiffs incurred over $40 million in litigation costs, about $15

million more than one would expect using the above metric. This enormous outlay reflects the




5
  Unpaid interest accumulates on time because, had class counsel handled an hourly rate matter
instead of litigating a class action on contingency, they could have invested their fees and earned
a return for the duration of the litigation.
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burden of extensive fact discovery, the intensity of the opposition, the need for multiple experts,

and other cost drivers.

       60.     It takes extraordinary courage to put almost $41 million at risk in a complex lawsuit

against well-heeled defendants with a track record of success. This is so partly because of the

sheer magnitude of the outlay and partly because the risk is undiversified. The gamble is all or

nothing, with “nothing” being the possible outcome at many points along the way. The filing of

Defendants’ Motion to Dismiss in 2013 created one such possibility. Dkt 108. The filing of

Defendants’ Motion for Summary Judgment on Plaintiffs’ Section 1, Per se, and Quick Look

Claims in 2017 created another. Dkt. 1353. The Court is aware of many more.

       61.     There is no reason to fear that Class Counsel spent any of this money unwisely

either. Because contingent fee lawyers only recoup their expenses when they win, they have every

reason to be frugal. Rationally, their incentive is to incur only expenses that increase class

members’ expected recoveries by several multiples of the cost. It makes more sense to worry that

contingent fee lawyers may devote too few resources to litigation than to fear that they will spend

too much. The expenses incurred in this matter were also reviewed on a monthly basis, and

regularly audited by a special master, so they are obviously real costs.

               3.         Dollars At Stake

       62.     The $2.67 billion recovery is another sign of risk. Settlement size is a proxy for

risk because defendants are willing to litigate more intensively when they have more to lose. In

other words, plaintiffs’ attorneys must expect to face more intense opposition in larger cases than

smaller ones. In larger cases, class counsel also usually receive multiple offers to settle for lesser

amounts along the way to bigger recoveries. Each such offer forces class counsel to confront the

risk of rejecting it and proceeding versus accepting it and collecting fees and reimbursements.



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And, of course, a rejected offer does not put a floor on the recovery; it disappears, leaving class

counsel with the prospect of recovering nothing.

        63.     According to the 2019 Antitrust Annual Report, supra at p. 20, the proposed

settlement is both the largest in the history of antitrust litigation and more than $300 million larger

than its closest rival. The settlement also includes injunctive relief that is worth millions or billions

more. See Declaration of Dr. Daniel Rubinfeld, Dkt. 2610-10 (evaluating the potential economic

impact of structural and other injunctive relief provided for in the Settlement Agreement). As the

Court observed:

        The prospective injunctive relief in this case is wide-reaching and bears greater
        importance for the class than the monetary relief. Unlike many antitrust cases, this
        suit does not involve a defunct conspiracy. The settlement terms take this into
        account by offering forward-thinking, pro-competitive reforms that will change the
        nature of Defendants’ business moving forward. The business practice changes
        provide significant relief to the Class in addition to the monetary benefit, providing
        for opportunities for more competition in the market for health insurance and
        allowing the potential for Class Members to achieve greater consumer choice,
        better product availability, and increased innovation.

Preliminary Approval Opinion, pp. 26-27.
        64.     In view of the financial stakes and the difficulty of reforming business practices

that were longstanding and ongoing, the risks that Class Counsel faced were extraordinary. The

length of the litigation, the time the lawyers expended, and the expenses they bore all reflect the

strength of the Defendants’ desire to avoid liability.

                4.      No Prior Governmental Investigation Uncovered Wrongdoing

        65.     The lack of a prior or contemporaneous governmental investigation that uncovered

wrongdoing matters too. This is so because a government action may reduce the burden on class

action lawyers, lend credence to the plaintiffs’ allegations, and be a source of valuable information

or other assistance. Many antitrust cases that produced recoveries above $100 million were

assisted substantially by criminal prosecutions and guilty pleas. See, e.g., In re Vitamins Antitrust

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Litig., No. 99-197, 2001 WL 34312839 (D.D.C. July 16, 2001) ($365 million class recovery and

34.6% fee award in case supported by criminal prosecutions and guilty pleas); In re TFT-LCD

(Flat Panel) [Indirect Purchaser] Antitrust Litig., MDL No. 1827, 2013 WL 1365900 (N.D. Cal.

Apr. 3, 2013) ($1.08 billion class recovery and approximately 30% fee to class counsel and state

attorneys general in case supported by sweeping criminal prosecutions and guilty pleas). If prior

or parallel government proceedings make class actions less risky, then (other things being equal)

fee awards should be higher in cases like this one, where Class Counsel initiated and, for almost 9

years, conducted the litigation challenging the practices at issue without help from a regulator.

       66.     Here, the lack of an accompanying public investigation was an especially serious

problem for Class Counsel because the Defendants argued that prior governmental inquiries had

exonerated them. They asserted, for example, that “[a]ll three branches of government ha[d]

approved of the Blue System and rules.” Brief in Support of Defendants’ Motion for Summary

Judgment on Plaintiffs’ Section 1, Per se, and Quick Look Claims, Dkt. 1353-1. This argument

likely had considerable persuasive force. In my experience, federal judges give considerable

weight to past governmental actions and are reluctant to contradict their findings.

VIII. FEE AWARDS IN CASES WITH COMPARABLE MONETARY RECOVERIES

       67.     In my experience, judges want to know how other judges handled fees in similar

cases. Here, the Court has already noted that Class Counsel’s request for a 25 percent fee “is in

line with benchmarks in the Eleventh Circuit.” Preliminary Approval Opinion, p. 46 (citing cases).

In this section, I provide additional information on this subject.

       68.     When a settlement sets a record, the number of comparable cases is necessarily

small. That said, two generalizations are both reliable and well-known. The first is that as

settlements grow in size, fee percentages often decline. This is known as the “increase/decrease”



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rule. The second is that judges do not adhere to the “increase/decrease” mechanically. Instead,

they award fee percentages that, in their informed judgment, lawyers deserve.

       69.     The desire to award fees in amounts that lawyers deserve is reflected in the

substantial number of mega-fund cases—cases with recoveries of $100 million or more—with

percentages in the normal range. A list appears in Table 1, below. The list bottoms out with

awards of 23 percent because Class Counsel’s request for 25 percent of the recovery includes

expenses, which other awards in the table do not.

       70.     When reading Table 1, two facts must be kept in mind. First, the table is exemplary,

not exhaustive. Because no source collects all class action settlements, there may be many more

cases than it reports. Second, the entries have not been adjusted for inflation. By increasing

settlement values to current dollars, an inflation adjustment would both increase the number of

qualifying cases and make the older cases in the table seem larger. For example, the $359 million

paid in the Vitamins antitrust case in 2001 equals $523 million in 2020.




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       71.     As stated, the entries in Table 1 show that judges do not apply the increase/decrease

rule mechanically. They award the fees that, in their informed judgment, lawyers deserve. In

mega-fund cases with settlements north of $100 million, the practice of tailoring fees in light of

facts has often led them to grant percentages in the normal range. If the Court awards the fee that

Class Counsel has requested, as I believe it should, the Court will have plenty of company in the

mega-fund category.

IX.    LODESTAR CROSS-CHECK

       72.     When awarding fees as a percentage of the settlement, courts often gauge their

reasonableness by performing lodestar cross-checks. These cross-checks employ two components:

the lodestar calculation, which multiplies hourly rates by time expended; and an imputed

multiplier, which is a factor that brings the lodestar calculation into line with the fee request. I

discuss both quantities here.

       73.     Before doing so, I wish to note two things. First, I oppose the use of lodestar cross-

checks and have argued against them repeatedly. By assigning significant weight to hours worked,

courts inadvertently encourage lawyers to expend time rather than to conserve it. In other words,

courts unintentionally penalize efficiency and reward delay. Lodestar cross-checks also weaken

the connection between fees and recoveries, the connection that lashes class counsel’s interests

fast to class members’ wellbeing. To the best of my knowledge, claimants never use the lodestar

multiplier when hiring lawyers directly. I therefore see no reason for courts to rely on it when

assessing the reasonableness of class counsel’s fees.

       74.     Second, the market-based approach that I endorse is a cross-check on the

reasonableness of Plaintiffs’ Counsel’s fee request. It provides an objective and independent

standard on the basis of which an assessment can be made. Unless a cross-check can only be made



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in lodestar terms, a question of law on which I take no position, I see no obvious reason for a

second cross-check to be made.

       75.     Turning to the lodestar cross-check itself, I reviewed a summary of Class Counsel’s

billings that covered time expended through August 15, 2020.            It showed that across all

timekeepers and all firms, the total lodestar basis was $194,226,322 and the total hours worked by

all firms was 434,054.6. Simple division yields a blended hourly rate of $447 for all work done to

that point. Considering only lawyers who spent at least 100 hours on the litigation, 20 lawyers’

rates were in the $1,000-$1,600 range, 46 fell into the $800-$999 range, and 43 billed from $700

to $799 per hour. Another 545 timekeepers billed at lower rates.

       76.     Because hourly rates vary widely across the profession, when considering the

reasonableness of this request it is important to keep in mind that the lawyers serving as Lead

Counsel for the Subscriber Class include some of the country’s most outstanding practitioners and

the firms they work at are some of the most prestigious as well.

       77.     The team of lawyers representing the subscribers includes outstanding attorneys

from the nation’s top firms, with many decades of combined experience in highly complex

litigation, including pathbreaking antitrust cases and class actions. The two attorneys appointed

by the trial court as co-lead counsel, David Boies and Michael Hausfeld, themselves have

extremely impressive credentials and brought to bear their considerable experience litigating

antitrust cases and complex class actions to their representation of the subscriber class. Mr. Boies,

who was named one of the 100 Most Influential People in the World by Time Magazine in 2010,

has been named Global International Litigator of the Year by Who’s Who Legal an unprecedented

seven times and has been named Antitrust Lawyer of the Year by the American Bar Association.

In the just-over two decades since its founding, and under Mr. Boies’ leadership, Boies Schiller



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Flexner’s attorneys have earned a stellar reputation for winning a broad range of exceedingly

complex class action lawsuits.       Significantly, Mr. Boies’ firm has been recognized for its

comprehensive work investigating, uncovering, and filing suits concerning the existence and

activities of cartels. See, e.g., In re Vitamins Antitrust Litig., 398 F. Supp. 2d 209, 226 (D.D.C.

2005). Mr. Hausfeld is a leader in the field of antitrust, having served as co-lead counsel in cases

against manufacturers of genetically engineered foods, managed healthcare companies, bulk

vitamin manufacturers, technology companies, and the world’s largest banking institutions.

Chamber and Partners recognized this when reporting that Michael is “one of the best lawyers in

America, especially with regard to antitrust cases and other complex litigation." (Chambers US,

Antitrust: Plaintiff - Nationwide, 2021). Global Competition Review, when awarding Michael

Lawyer of the Year, touted him “as one of the best plaintiffs' lawyers in the country” who

“consistently brings in the biggest judgments in the history of law" and is “a Washington lawyer

determined to change the world – and succeeding.” (Global Competition Review Awards, 2019).

Who’s Who Legal Competition has dubbed him “[o]ne of the titans of the competition plaintiff

space, and is a perennial selection as a Global Elite Thought Leader.” Hausfeld LLP is in a class

of its own when it comes to winning damages awards for violations of the competition laws in

both the United States and Europe.

       78.     Messrs. Hausfeld and Boies led a truly remarkable assemblage of legal talent in the

representation of the subscriber class. The steering committee included Paul Weiss’s Bill Isaacson,

who has tried a number of significant antitrust class actions to verdict and has negotiated a number

of notable class action settlements, and of whom the Global Competition Review has declared that

“arguably no antitrust lawyer in recent memory has had as much success for both plaintiffs and

defendants as Bill Isaacson.” It also included Hausfeld’s Megan Jones, who designed and led the



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discovery strategy that included obtaining 75 million pages of documents, over 100 depositions,

and synthesizing the facts to support the legal theories of the case. Law360 has named Megan

Jones as a “Titan of the Plaintiffs’ Bar,” describing her as “a force of nature.” Ms. Jones and Mr.

Isaacson worked together to coordinate and direct the litigation, as well as to maintain a consistent

strategy over a course of years. The team also included Charles J. Cooper, a founding member

and Chairman of Cooper & Kirk, PLLC, recognized as one of the country’s leading litigation

boutiques, who has represented a wide range of public and private clients in highly complex

constitutional, antitrust, health-care, administrative, and commercial matters and has argued

numerous cases before the Supreme Court and dozens of other appeals; Cy Smith of Zuckerman

Spaeder, whose work the Delaware Court of Chancery has described as “an exemplar of exactly

how entrepreneurial plaintiffs’ contingent fee litigation ought to work”; accomplished trial

attorney Kathleen Chavez, of Chicago’s Foot Mielke Chavez & O'Neil LLC; and Greg Davis, of

Davis & Taliaferro, a leading member of the Alabama Bar. The Self-Funded Sub-Class was ably

represented by Warren T. Burns, of Burns Charest LLP. Lead counsel and the Steering Committee

were also ably assisted by a number of other talented and experienced lawyers.

        79.    Turning now to the reasonableness of the requested rates directly, there are many

relevant sources of information. Fee applications submitted in bankruptcy proceedings are

especially helpful because they are sworn to under oath and are reviewed by judges. Studying

them, one learns that many lawyers are compensated at rates comparable to those requested here.

   •    In the Sears bankruptcy proceeding, the fee application submitted in 2019 by Weil, Gotshal

        & Manges LLP, the debtors’ attorneys, included dozens of lawyers whose hourly charges

        exceed $1,000, with nine lawyers charging $1,500 per hour or more.




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   •    Even higher hourly rates were sought in the Toys R’ Us bankruptcy, where Kirkland &

        Ellis LLP served as debtors’ counsel. There, the highest hourly rate was $1,795, the

        blended rate for all partners, of which there were dozens, was $1,227, and the blended rate

        for all timekeepers, including paralegals and support staff, was $901.

   •    The rates sought by the law firm of Davis Polk & Wardwell LLP in the ongoing Purdue

        Pharma bankruptcy proceeding provide another anecdotal example. In late November of

        2019, the firm sought rates that included $1,645 per hour for seven partners, $1,445-$1,585

        for four more partners, and $1,225 for six lawyers described as being “of counsel.” Davis

        Polk also sought rates exceeding $1,000 per hour for fifteen associates and rates exceeding

        $900 per hour for many more.

   •    Finally, an article covering the bankruptcy proceeding involving Pacific Gas & Electric

        (PG&E) reported that lawyers from Cravath Swaine & Moore billed at rates of $415 to

        $1,500 per hour and that lawyers at Weil, Gotshal & Manges charged $560 to $1,600 per

        hour. Xiumei Dong, PG&E Legal Bills Already Top $84M in Chapter 11 Case, THE

        RECORDER, Apr. 2, 2019, https://www.law.com/therecorder/2019/04/02/pge-legal-bills-

        already-top-84m-for-chapter-11-case/?slreturn=20200903170457.

        80.    Focusing on Alabama, the proceeding involving New WEI Inc. shows that rates

similar to those discussed above are allowed by local bankruptcy courts. New WEI, Inc., et al.,

Docket No. 2:15-bk-02741 (Bankr. N.D. Ala, Jul 15, 2015). In this proceeding, Paul, Weiss,

Rifkind, Wharton & Garrison LLP requested hourly rates of $1,275 for two partners and of $925

for two lawyers listed as Counsel. Id., Dkt. 447. Jenner & Block LLP sought rates as high as

$1,200 per hour for partners and $695 per hour for associates. Id., Dkt. 731. Morrison & Foerster

LLP applied for $1,275 for a tax partner, over $1,000 for two bankruptcy partners, and $950 for a


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litigation partner. The rates for bankruptcy associates topped out at $760 per hour. Id., Dkt. 762.

All three applications were approved. See Id., Dkt. 656 (authorizing retention of Paul, Weiss,

Rifkind, Wharton & Garrison LLP); Id., Dkt 861 (authorizing retainer of Jenner & Block LLP);

and Id., Dkt. 921 (authorizing retention of Morrison & Foerster LLP).

         81.   Turning from bankruptcy to antitrust class actions, I gained familiarity with rates

charged in the latter proceedings by preparing many expert reports that were submitted in them. I

also reviewed several fee applications submitted and fee awards granted in several cases with

recoveries exceeding $100 million to determine the rates that were sought and approved. The

review led me to conclude that the rates requested in this case are reasonable. Here are two

examples from cases that settled recently.

    •    In the Euribor litigation, which settled in 2019 for $182.5 million, the requested lodestar

         basis, which the court approved, produced a blended rate for all timekeepers of $468

         dollars per hour ($194,977,526 divided by 434,977 hours = $468). See Memorandum of

         Law in Support of Class Counsel’s Motion for Award of Attorneys’ Fees and

         Reimbursement of Expenses, Sullivan et al. v. Barclays plc et al, 13-cv-2811 (PKC), Dkt.

         402 (S.D.N.Y., March 23, 2018); and Order Granting Class Counsel’s Motion for Award

         of Attorneys’ Fees, Sullivan et al. v. Barclays plc et al, 13-cv-2811 (PKC), Dkt. 425

         (S.D.N.Y., May 18, 2018).

    •    In the Forex litigation, 15 settlements produced an aggregate fund of over $2.3 billion. In

         2018, the court approved a fee award in the amount of $300,335,750, which equaled a

         lodestar basis of $174,613,808 times a multiplier of 3.4. Because class counsel expended

         330,600 hours, the blended rate for all timekeepers was $528 per hour. Opinion and




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         Order, In re Foreign Exchange Benchmark Rates Antitrust Litigation, No. 1:13-cv-07789-

         LGS, Dkt. 1140 (S.D.N.Y., November 8, 2018).

        82.     In view of the sources I have discussed and my decades of experience reviewing

fee applications, it is my opinion that the rates requested by class counsel are clearly reasonable.

        83.     I turn now to the multiplier portion of the lodestar. As explained, Class Counsel

have applied for approximately $667 million (25 percent of the recovery) in payment of fees and

reimbursement of expenses. To determine the multiplier, which applies only to the hourly-based

component of the payment request, Class Counsel’s costs (nearly $41 million) must be deducted

from this amount. Dividing the remaining $626.5 million by the lodestar basis of $194,226,321,

the multiplier is about 3.2. The extraordinary recovery won for the class easily justifies a multiplier

of this size.

        84.     Before discussing multipliers awarded in comparable cases, it bears mentioning

that the lodestar basis reflects Class Counsel’s historical rates, not their current rates, which are

higher. Consequently, the multiplier must compensate Class Counsel for delay in payment as well

as risk. The cost of delay is more than the difference between historical and current rates as well.

Had Class Counsel been paid on a monthly basis throughout the litigation, the dollars received

would have been available for investment in securities, certificates of deposit, or other instruments.

Unless the multiplier offsets these lost earnings, contingent fee work will never be as financially

attractive as work done for payment on a regular basis and lawyers will be discouraged from

handling class actions.

        85.     To put the matter another way, had Class Counsel billed at current rates rather than

historical rates, the requested multiplier would be smaller because the lodestar basis would have




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been over $15 million higher. The need to compensate Class Counsel for delayed payment would

still exist, but it would be addressed by marking up their hourly rates instead of via the multiplier.

        86.    A 3.2 multiplier is easily justified in this case.       The best-known feature of

multipliers is that they increase sharply as settlements become larger. The policy of connecting

multipliers to settlement size has solid grounding in the economics of litigation, because the

multiplier is the component of the lodestar- method that ties the fee award to the recovery. Neither

lawyers’ hourly rates nor the time they expend does this more than weakly. Unless the multiplier

increases as settlements grow larger, lawyers will be incentivized to settle cheaply because, by

doing so, they will protect their fees instead of putting them at risk—which they do whenever they

pass up opportunities to settle. Unless the upside potential of securing a larger recovery justifies

incurring the downside risk of losing fees, the pressure on lawyers to settle will be strong.

Awarding larger multipliers when class actions settle for larger sums provides the upside potential

that is needed to encourage lawyers to take significant risks.

        87.    Because multipliers increase as settlements grow, judges presiding over mega-fund

cases have often awarded multipliers equal to or greater than the one sought here.

   •    In In re Buspirone, 01-md-1410 (S.D.N.Y. Apr. 11, 2003), which settled for $220 million,

        the court awarded a lodestar multiplier of 8.46.

   •    In In re Credit Default Swaps Antitrust Litig., No. 13MD2476 DLC, ECF No. 554

        (S.D.N.Y. April 18, 2016), which settled for $1.86 billion, the multiplier was 6.36.

   •    In King Drug Co. of Florence v. Cephalon, Inc., Civil Action No. 06-cv-01797-MSP, Dkt.

        870 at 8 (E.D. Pa. Oct. 15, 2015), the settlement equaled $512 million, and the multiplier

        was 4.12.




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   •    In In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 991 F. Supp. 2d

        437 (E.D.N.Y. 2014), which ended with a whopping $5.7 billion recovery, the multiplier

        was 3.54.

   •    In In re NASDAQ Mkt.-Makers Antitrust Litig., 187 F.R.D. 465, 489 (S.D.N.Y. 1998),

        which settled for slightly more than $1 billion, the multiplier was 3.97.

   •    In In re Visa Check/Mastermoney Antitrust Litig., 297 F. Supp. 2d 503, 523 (E.D.N.Y.

        2003), aff'd sub nom. Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96 (2d Cir. 2005),

        where the settlement had an estimated present value of almost $3.4 billion, the multiplier

        was 3.5.

   •    In Deloach v. Philip Morris Companies, No. 1:00CV01235, 2003 WL 23094907, at *11

        (M.D.N.C. Dec. 19, 2003), which settled for $200 million in cash and other relief, the

        multiplier was 4.45.

This list could be expanded considerably, especially by including securities fraud class actions and

cases of other types.

        88.    The substantial value of the forward-looking injunctive relief provides additional

support for a high multiplier. Most of the mega-fund settlements to which this one might be

compared entitled class members to only or mainly monetary relief. When injunctive relief is also

considered, the value of the proposed settlement greatly exceeds $2.67 billion. Because class

members will derive significant benefits from the injunctive reforms, Class Counsel should be

rewarded for securing it. An enhanced multiplier would have this effect.

        89.    When performing cross-checks, judges do not adhere to simple-minded rules. They

award fees that, in their informed judgment, are justified in light of the effort lawyers expended,

the risks they incurred, and the results they obtained. In this case, the lawyers worked hard,


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incurred great expenses, pursued a novel litigation theory, and secured a terrific settlement for the

class. In view of all this, the reasonableness of the requested multiplier is clear.

       90.     I conclude that a lodestar cross-check confirms that Plaintiffs’ Counsel’s fee request

is in line with the market and with awards in comparable cases and thus is reasonable.

X.     COMPENSATION

       91.     I received a flat fee of $50,000 for the time I spent preparing this report.

XI.    CONCLUSION

       92.     For the reasons set out above, I believe that Class Counsel’s request for a fee and

expense award equal to 25 percent of the gross recovery is in line with the market and with awards

in comparable cases and thus is reasonable.



       I declare under penalty of perjury of the laws of the United States that the foregoing is

true and correct. Executed this 28th day of May, 2021, at Empire, Michigan.




                                                                CHARLES SILVER




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      APPENDIX I: RESUME OF PROFESSOR CHARLES SILVER




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                        ACADEMIC EMPLOYMENTS
 School of Law, University of Texas at Austin, 1987-2015
     Roy W. and Eugenia C. McDonald Endowed Chair in Civil Procedure
     W. James Kronzer Chair in Trial & Appellate Advocacy
     Cecil D. Redford Professor
     Robert W. Calvert Faculty Fellow
     Graves, Dougherty, Hearon & Moody Centennial Faculty Fellow
     Assistant Professor

 University of Michigan Law School, Fall 2018
     Visiting Professor

 Harvard Law School, Fall 2011
     Visiting Professor

 Vanderbilt University Law School, Fall 2003
    Visiting Professor

 University of Michigan Law School, Fall 2018 & Fall 1994
     Visiting Professor

 University of Chicago, 1983-1984
      Managing Editor, Ethics: A Journal of Social, Political and Legal Philosophy

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  Yale Law School, JD (1987)
  University of Chicago, MA (Political Science) (1981)
  University of Florida BA (Political Science) 1979




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       Barker) (symposium issue).

58.    “The Basic Economics of the Duty to Defend,” in D. Schwarcz and P. Siegelman, eds.,
       RESEARCH HANDBOOK IN THE LAW & ECONOMICS OF INSURANCE 438-460 (2015).*

59.    “Insurer Rights to Limit Costs of Independent Counsel,” ABA/TIPS Insurance Coverage
       Litigation Section Newsletter 1 (Aug. 2014) (with William T. Barker).

60.    “Litigation Funding Versus Liability Insurance: What’s the Difference?,” 63 DePaul L.
       Rev. 617 (2014) (invited symposium).

61.    “Ethical Obligations of Independent Defense Counsel,” 22:4 Insurance Coverage (July-
       August       2012)       (with       William       T.     Barker),        available     at
       http://apps.americanbar.org/litigation/committees/insurance/articles/julyaug2012-ethical-
       obligations-defense-counsel2.html.

62.    “Settlement at Policy Limits and The Duty to Settle: Evidence from Texas,” 8 J. Empirical
       Leg. Stud. 48-84 (2011) (with Bernard S. Black and David A. Hyman).*

63.    “When Should Government Regulate Lawyer-Client Relationships? The Campaign to
       Prevent Insurers from Managing Defense Costs,” 44 Ariz. L. Rev. 787 (2002) (invited
       symposium).

64.    “Defense Lawyers’ Professional Responsibilities: Part II—Contested Coverage Cases,” 15
       G’town J. Legal Ethics 29 (2001) (with Ellen S. Pryor).

65.    “Defense Lawyers’ Professional Responsibilities: Part I—Excess Exposure Cases,” 78
       Tex. L. Rev. 599 (2000) (with Ellen S. Pryor).

66.    “Flat Fees and Staff Attorneys: Unnecessary Casualties in the Battle over the Law
       Governing Insurance Defense Lawyers,” 4 Conn. Ins. L. J. 205 (1998) (invited
       symposium).

67.    “The Lost World: Of Politics and Getting the Law Right,” 26 Hofstra L. Rev. 773 (1998)
       (invited symposium).




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68.    “Professional Liability Insurance as Insurance and as Lawyer Regulation: A Comment on
       Davis, Institutional Choices in the Regulation of Lawyers,” 65 Fordham L. Rev. 233 (1996)
       (invited symposium).

69.    “All Clients are Equal, But Some are More Equal than Others: A Reply to Morgan and
       Wolfram,” 6 Coverage 47 (1996) (with Michael Sean Quinn).

70.    “Are Liability Carriers Second-Class Clients? No, But They May Be Soon-A Call to Arms
       against the Restatement of the Law Governing Lawyers,” 6 Coverage 21 (1996) (with
       Michael Sean Quinn).

71.    “The Professional Responsibilities of Insurance Defense Lawyers,” 45 Duke L. J. 255
       (1995) (with Kent D. Syverud); reprinted in IX INS. L. ANTHOL. (1996) and 64 Def. L. J. 1
       (Spring 1997).

72.    “Wrong Turns on the Three Way Street: Dispelling Nonsense about Insurance Defense
       Lawyers,” 5-6 Coverage 1 (Nov./Dec.1995) (with Michael Sean Quinn).

73.    “Introduction to the Symposium on Bad Faith in the Law of Contract and Insurance,” 72
       Tex. L. Rev. 1203 (1994) (with Ellen Smith Pryor).

74.    “Does Insurance Defense Counsel Represent the Company or the Insured?” 72 Tex. L.
       Rev. 1583 (1994); reprinted in Practicing Law Institute, INSURANCE LAW: WHAT EVERY
       LAWYER AND BUSINESSPERSON NEEDS TO KNOW (1998).

75.    “A Missed Misalignment of Interests: A Comment on Syverud, The Duty to Settle,” 77 Va.
       L. Rev. 1585 (1991); reprinted in VI INS. L. ANTHOL. 857 (1992).

                Class Actions, Mass Actions, and Multi-District Litigations
76.    “In Defense of Private Claim Resolution Facilities,” J. of L. and Contemporary Problems
       (forthcoming 2021) (with Lynn A. Baker)*

77.    “What Can We Learn by Studying Lawyers’ Involvement in Multidistrict Litigation? A
       Comment on Williams, Lee, and Borden, Repeat Players in Federal Multidistrict
       Litigation,” 5 J. of Tort L. 181 (2014), DOI: 10.1515/jtl-2014-0010 (invited symposium).

78.    “The Responsibilities of Lead Lawyers and Judges in Multi-District Litigations,” 79
       Fordham L. Rev. 1985 (2011) (invited symposium).

79.    “The Allocation Problem in Multiple-Claimant Representations,” 14 S. Ct. Econ. Rev. 95
       (2006) (with Paul Edelman and Richard Nagareda).*

80.    “A Rejoinder to Lester Brickman, On the Theory Class’s Theories of Asbestos Litigation,”
       32 Pepperdine L. Rev. 765 (2005).

81.    “Merging Roles: Mass Tort Lawyers as Agents and Trustees,” 31 Pepp. L. Rev. 301 (2004)
       (invited symposium).


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82.    “We’re Scared To Death: Class Certification and Blackmail,” 78 N.Y.U. L. Rev. 1357
       (2003).

83.    “The Aggregate Settlement Rule and Ideals of Client Service,” 41 S. Tex. L. Rev. 227
       (1999) (with Lynn A. Baker) (invited symposium).

84.    “Representative Lawsuits & Class Actions,” in B. Bouckaert & G. De Geest, eds., INT’L
       ENCY. OF L. & ECON. (1999).*

85.    “I Cut, You Choose: The Role of Plaintiffs’ Counsel in Allocating Settlement Proceeds,”
       84 Va. L. Rev. 1465 (1998) (with Lynn A. Baker) (invited symposium).

86.    “Mass Lawsuits and the Aggregate Settlement Rule,” 32 Wake Forest L. Rev. 733 (1997)
       (with Lynn A. Baker) (invited symposium).

87.    “Comparing Class Actions and Consolidations,” 10 Tex. Rev. of Litig. 496 (1991).

88.    “Justice in Settlements,” 4 Soc. Phil. & Pol. 102 (1986) (with Jules L. Coleman).*

                          General Legal Ethics and Civil Litigation
89.    “A Private Law Defense of Zealous Representation” (in progress), available at
       http://ssrn.com/abstract=2728326.

90.    “The DOMA Sideshow” (in progress), available at http://ssrn.com/abstract=2584709.

91.    “The Responsibilities of Lead Lawyers and Judges in Multidistrict Litigations,” 79
       Fordham L. Rev. 1985 (2011).

92.    “Fiduciaries and Fees,” 79 Fordham L. Rev. 1833 (2011) (with Lynn A. Baker) (invited
       symposium).

93.    “Ethics and Innovation,” 79 George Washington L. Rev. 754 (2011) (invited symposium).

94.    “In Texas, Life is Cheap,” 59 Vanderbilt L. Rev. 1875 (2006) (with Frank Cross) (invited
       symposium).

95.    “Introduction: Civil Justice Fact and Fiction,” 80 Tex. L. Rev. 1537 (2002) (with Lynn A.
       Baker).

96.    “Does Civil Justice Cost Too Much?” 80 Tex. L. Rev. 2073 (2002).

97.    “A Critique of Burrow v. Arce,” 26 Wm. & Mary Envir. L. & Policy Rev. 323 (2001)
       (invited symposium).

98.    “What’s Not To Like About Being A Lawyer?” 109 Yale L. J. 1443 (2000) (with Frank B.
       Cross) (review essay).



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99.     “Preliminary Thoughts on the Economics of Witness Preparation,” 30 Tex. Tech L. Rev.
        1383 (1999) (invited symposium).

100.    “And Such Small Portions: Limited Performance Agreements and the Cost-Quality/Access
        Trade-Off,” 11 G’town J. Legal Ethics 959 (1998) (with David A. Hyman) (invited
        symposium).

101.    “Bargaining Impediments and Settlement Behavior,” in D.A. Anderson, ed., DISPUTE
        RESOLUTION: BRIDGING THE SETTLEMENT GAP (1996) (with Samuel Issacharoff and Kent
        D. Syverud).

102.    “The Legal Establishment Meets the Republican Revolution,” 37 S. Tex. L. Rev. 1247
        (1996) (invited symposium).

103.    “Do We Know Enough about Legal Norms?” in D. Braybrooke, ed., SOCIAL RULES:
        ORIGIN; CHARACTER; LOGIC: CHANGE (1996) (invited contribution).

104.    “Integrating Theory and Practice into the Professional Responsibility Curriculum at the
        University of Texas,” 58 Law and Contemporary Problems 213 (1995) (with Amon Burton,
        John S. Dzienkowski, and Sanford Levinson,).

105.    “Thoughts on Procedural Issues in Insurance Litigation,” VII INS. L. ANTHOL. (1994).

                                  Legal and Moral Philosophy
106.    “Elmer’s Case: A Legal Positivist Replies to Dworkin,” 6 L. & Phil. 381 (1987).*

107.    “Negative Positivism and the Hard Facts of Life,” 68 The Monist 347 (1985).*

108.    “Utilitarian Participation,” 23 Soc. Sci. Info. 701 (1984).*

                                 Practice-Oriented Publications
109.    “Your Role in a Law Firm: Responsibilities of Senior, Junior, and Supervisory Attorneys,”
        in F.W. Newton, ed., A GUIDE TO THE BASICS OF LAW PRACTICE (3D) (Texas Center for
        Legal Ethics and Professionalism 1996).

110.    “Getting and Keeping Clients,” in F.W. Newton, ed., A GUIDE TO THE BASICS OF LAW
        PRACTICE (3D) (Texas Center for Legal Ethics and Professionalism 1996) (with James M.
        McCormack and Mitchel L. Winick).

111.    “Advertising and Marketing Legal Services,” in F.W. Newton, ed., A GUIDE TO THE BASICS
        OF LAW PRACTICE (Texas Center for Legal Ethics and Professionalism 1994).

112.    “Responsibilities of Senior and Junior Attorneys,” in F.W. Newton, ed., A GUIDE TO THE
        BASICS OF LAW PRACTICE (Texas Center for Legal Ethics and Professionalism 1994).

113.    “A Model Retainer Agreement for Legal Services Programs: Mandatory Attorney’s Fees
        Provisions,” 28 Clearinghouse Rev. 114 (June 1994) (with Stephen Yelenosky).

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                                           Miscellaneous
114.    “Public Opinion and the Federal Judiciary: Crime, Punishment, and Demographic
        Constraints,” 3 Pop. Res. & Pol. Rev. 255 (1984) (with Robert Y. Shapiro).*

                                           PERSONAL
        Married to Cynthia Eppolito, PA; Daughter, Katherine; Step-son, Mabon.
        Consults with attorneys and serves as an expert witness on subjects in his areas of expertise.
        First generation of family to attend college.




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         APPENDIX II: TABLE OF FEE AWARDS IN DIRECT PURCHASER
              PHARMACEUTICAL ANTITRUST CLASS ACTIONS




      Direct-Purchaser Pharmaceutical Antitrust Settlements, April 2003-April 2020

                                            Fee        Retainer     Class       Class
                            Settlement
 Date       Case Name                    Percentage     Agree-     Member      Member
                             Amount
                                         Requested       ment     Objections   Support
11/09/18 Hartig        Drug $9,000,000     33.33%        N/A        None         No
         Company Inc. v.
         Senju
         Pharmaceutical
         Co. Ltd. et al, No.
         14-00719        (D.
         Del.)
10/24/18 In Re: Blood $41,500,000          33.33%        N/A        None         No
         Reagents Antitrust
         Litigation, No. 09-
         md-02081 (E.D.
         Pa.)
09/20/18 In re Lidoderm $166,000,000       27.11%      33.33%       None         Yes
         Antitrust
         Litigation, No. 14-
         md-02521 (N.D.
         Cal.)
07/18/18 In re Solodyn $72,500,000         31.45%        N/A        None         No
         (Minocycline
         Hydrochloride)
         Antitrust
         Litigation, No. 14-
         md-02503        (D.
         Mass.)
04/18/18 American Sales $94,000,000        32.69%      33.33%       None         Yes
         Company, LLC v.
         Pfizer, Inc., No. 4-
         cv-00361       (E.D.
         Va.)




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                                             Fee       Retainer     Class       Class
                            Settlement
 Date       Case Name                     Percentage    Agree-     Member      Member
                             Amount
                                          Requested      ment     Objections   Support
12/19/17 In re Aggrenox $146,000,000       33.33%      33.33%       None         Yes
         Antitrust
         Litigation, No. 14-
         md-02516        (D.
         Conn.)
12/07/17 In    re    Asacol $15,000,000    33.33%        N/A        None         Yes
         Antitrust
         Litigation, No. 15-
         cv-12730        (D.
         Mass.)
10/23/17 Castro v. Sanofi $61,500,000      33.33%        N/A        None         Yes
         Pasteur, Inc., No.
         11-cv-7178
         (D.N.J.)
10/05/17 In    re     K-Dur $60,200,000    33.33%        N/A        None         Yes
         Antitrust
         Litigation, No. 01-
         cv-01652 (D.N.J.)
10/15/15 King        Drug $512,000,000     27.50%        N/A        None         Yes
         Company         of
         Florence, Inc. v.
         Cephalon, Inc., et
         al, No. 06-cv-
         01797 (E.D. Pa.)
05/20/15 In re Prograf $98,000,000         33.33%        N/A        None         Yes
         Antitrust  Litig.,
         No. 11-md-2242
         (D. Mass.)
01/20/15 In re Prandin $19,000,000         33.33%        N/A        None         Yes
         Direct Purchaser
         Antitrust   Litig.,
         No. 10-cv-12141
         (E.D. Mich.)




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                                                Fee       Retainer     Class       Class
                             Settlement
 Date       Case Name                        Percentage    Agree-     Member      Member
                              Amount
                                             Requested      ment     Objections   Support
09/16/14 Mylan             $15,000,000        33.33%        N/A        None         No
         Pharmaceuticals,
         Inc. v. Warner
         Chilcott PLC, No.
         12-cv-3824 (E.D.
         Pa.)
08/06/14 Louisiana            $190,416,438    33.33%        N/A        None         Yes
         Wholesale         v.
         Pfizer, Inc., et al,
         No. 02-cv-01830
         (D.N.J.)
06/30/14 In re Skelaxin $73,000,000           33.33%        N/A        None         Yes
         (Metaxalone)
         Antitrust
         Litigation, No. 12-
         md-2343      (E.D.
         Tenn.)
4/16/14 In Re: Plasma- $64,000,000            33.33%        N/A        None         No
        Derivative Protein
        Therapies
        Antitrust
        Litigation, No. 09-
        07666 (N.D. Ill.)
06/14/13 American Sales $150,000,000          33.33%        N/A        None         Yes
         Company, Inc. v.
         Smithkline
         Beecham
         Corporation, No.
         08-cv-03149
         (E.D. Pa.)
04/10/13 Louisiana        $45,000,000         33.33%        N/A        None.        Yes
         Wholesale Drug
         Company, Inc. v.
         Becton Dickinson
         & Company, Inc.,
         No. 05-cv-01602
         (D.N.J.)



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                                           Fee       Retainer     Class       Class
                           Settlement
 Date      Case Name                    Percentage    Agree-     Member      Member
                            Amount
                                        Requested      ment     Objections   Support
11/07/12 In re Wellbutrin $37,500,000    33.33%        N/A        None         Yes
         XL        Antitrust
         Litigation, No. 08-
         cv-2431 (E.D. Pa.)
05/31/12 Rochester Drug $17,250,000      33.33%        N/A        None         Yes
         Co-Operative,
         Inc., v. Braintree
         Laboratories, Inc.,
         No. 07-cv-142 (D.
         Del.)
01/12/12 In re Metoprolol $20,000,000    33.33%        N/A        None         Yes
         Succinate
         Antitrust
         Litigation, No. 06-
         cv-52 (D. Del.)
11/28/11 In re DDAVP $20,250,000         33.33%        N/A        None         Yes
         Direct Purchaser
         Antitrust
         Litigation, No. 05-
         cv-2237
         (S.D.N.Y.)
11/21/11 In re Wellbutrin $49,000,000    33.33%        N/A        None         Yes
         SR        Antitrust
         Litigation, No. 04-
         cv-5525 (E.D. Pa.)
08/11/11 Meijer, Inc. v. $52,000,000     33.33%        N/A        None         Yes
         Abbott
         Laboratories, No.
         07-cv-05985
         (N.D. Cal.)
01/31/11 In re Nifedipine $35,000,000    33.33%        N/A        None         Yes
         Antitrust
         Litigation, No. 03-
         mc-223 (D.D.C.)




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                                               Fee       Retainer     Class       Class
                             Settlement
 Date       Case Name                       Percentage    Agree-     Member      Member
                              Amount
                                            Requested      ment     Objections   Support
01/25/11 In re Oxycontin $16,000,000         33.33%        N/A        None         Yes
         Antitrust
         Litigation, No. 04-
         md-1603
         (S.D.N.Y.)
04/23/09 In re Tricor Direct $250,000,000    33.33%        N/A        None         Yes
         Purchaser
         Litigation, No. 05-
         340 (D. Del.)
04/20/09 Meijer, Inc. v. $22,000,000         33.33%        N/A        None         Yes
         Barr
         Pharmaceuticals,
         Inc., No. 05-cv-
         2195 (D.D.C.)
11/09/05 In re Remeron $75,000,000           33.33%        N/A        None         Yes
         Direct Purchaser
         Antitrust
         Litigation, No. 03-
         cv-00085 (D.N.J.)
04/19/05 In re Terazosin $74,572,327         32.41%        N/A        None         Yes
         Hydrochloride
         Antitrust
         Litigation, No. 99-
         md-1317      (S.D.
         Fla.)
11/30/04 North        Shore $50,000,000      33.33%        N/A        None         No
         Hematology-
         Oncology
         Associates, P.C. v.
         Bristol-Myers
         Squibb Co., No.
         04-cv-248
         (D.D.C.)
04/09/04 In re Relafen $175,000,000          33.33%        N/A        None         No
         Antitrust
         Litigation, No. 01-
         cv-12239        (D.
         Mass.)


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                                             Fee       Retainer     Class       Class
                           Settlement
 Date      Case Name                      Percentage    Agree-     Member      Member
                            Amount
                                          Requested      ment     Objections   Support
04/11/03 Louisiana         $220,000,000    32.96%        N/A        None         Yes
         Wholesale Drug
         Co. v. Bristol-
         Myers Squibb Co.,
         No. 01-cv-7951
         (S.D.N.Y.)
                                          N=33         3/33       0/33         26/33

                                          Median=
                                          33.33%

                                          Mean=
                                          32.85%




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